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JBC/JFS/ANL/lw

                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

KANWAL NADEEM,                                 )
                                               )
               Plaintiff,                      ) Case No. 19-CV-08253
                                               )
       vs.                                     ) Honorable John Robert Blakey
                                               )
VISCOSITY OIL COMPANY,                         ) Magistrate Judge Honorable Jeffrey T. Gilbert
                                               )
               Defendant.                      )


  DEFENDANT VISCOSITY OIL COMPANY’S MEMORANDUM IN SUPPORT OF
RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT,
 AND, INT THE ALTRNATIVE, MOTION TO STRIKE PURSUANT TO RULE 12(f)(2)

       Defendant, VISCOSITY OIL COMPANY, by and through its attorneys, JOSEPH F.

SPITZZERI and AMBER N. LUKOWICZ of JOHNSON & BELL, LTD., hereby moves this

Honorable Court pursuant to FED. R. CIV. P. 12(b)(6) to dismiss Plaintiff KANWAL NADEEM’s

First Amended Complaint and, in the alternative, pursuant to FED. R. CIV. P. 12(f)(2), to strike

certain allegations falling outside of the statute of limitations for Plaintiff’s claims. In support of

its Motion, Defendant states as follows:

                                        INTRODUCTION

       Plaintiff has filed a three-count First Amended Complaint against her former employer.

(ECF No. 29). Count I alleges that Defendant Viscosity Oil Company (“Viscosity”) violated the

Equal Pay Act of 1963 (“Equal Pay Act”). Count II claims that Viscosity discriminated against the

Plaintiff in violation of Title VII of the Civil Rights Act of 1964 (“Title VII”) and Count III alleges

retaliation in violation of Title VII. Viscosity herein moves to dismiss Plaintiff’s First Amended

Complaint for failure to state actionable claims, and, in the alternative moves to strike Paragraphs

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11, 12, 13, 14, 15, 16, 17, 22, 23, 56, and 60 of Plaintiff’s First Amended Complaint for falling

outside the applicable time period for the associated claims.

                               RELEVANT FACTUAL BACKGROUND

         According to her Complaint, Plaintiff is female and was hired as a Financial Analyst by

Viscosity in January of 2015. (ECF No. 29, ¶6). Plaintiff advised her supervisor she was interested

in a promotion to Senior Financial Analyst, as there was no one in that position and she was

performing some of the duties of that position1. Plaintiff was instructed that her supervisor was

going to work on it. Id. at ¶11. At least half a year later, in late 2016, Plaintiff came across the job

posting for Senior Financial Analyst on LinkedIn and indicated to her supervisor that she wanted

the position. Id. at ¶13. Plaintiff was instructed that the position was posted by mistake and noticed

the job posting was removed from LinkedIn. Id. at ¶14

         In April 2017, a male was hired as a Senior Financial Analyst with Viscosity and the

Plaintiff assisted in training him on the duties of that position. (ECF No. 29, ¶15 and ¶18). Plaintiff

alleges that she and her male counterpart were responsible for the same business operations and

reported to the same supervisor. Id. at ¶18-19, 34-35. Plaintiff’s employment with Viscosity ended

on September 7, 2018, through her own resignation from the position. Id. at ¶32.2

                                            LEGAL STANDARD

         Rule 12(b)(6) of the Federal Rules of Civil Procedure mandates dismissal of a complaint

that fails to state a claim upon which relief can be granted. To survive a motion to dismiss, a

plaintiff must state sufficient facts to support every material element necessary for recovery under




1
  Notably, there was no open position for a Senior Financial Analyst at this time in the beginning of 2016, as the
alleged job posting was not on LinkedIn until late 2016.
2
  Plaintiff alleges she was “constructively discharged” on this date; however, she does not elaborate on how or why.
She does not state that the environment was hostile, or egregious, nor does she state she believed she was going to
be discharged.

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the relevant legal theory. Papapetropoulous v. Milwaukee Transp. Svcs., 795 F.2d 591, 594 (7th

Cir. 1986). While a court must take all facts alleged in the complaint as true and draw all reasonable

inferences from those facts in the Plaintiff's favor (Sprint Spectrum L.P. v. City of Carmel, Ind.,

361 F.3d 998, 1001 (7th Cir. 2004)), the plaintiff must plead “more than labels and conclusions,

and a formulaic recitation of the elements of a cause of action will not do, neither will mere

conjecture.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007); Ashcroft v. Iqbal, 129 S.

Ct. 1937, 1949 (2009) (holding that “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice”). The complaint “must plausibly suggest

that the plaintiff has a right to relief, raising that possibility above a ‘speculative level’; if they do

not, the plaintiff pleads [her]self out of court.” E.E.O.C. v. Concentra Health Serv., Inc., 496 F.3d

773, 776 (7th Cir. 2007) (citing Twombly, 550 U.S. 544, 127 S. Ct. at 1965, 1973, n.14)..

        “A plaintiff cannot survive a motion to dismiss by merely citing to a statute in a complaint”

Graham v. Illinois, No. 07 C 7078, 2009 WL 1543821, *4 (N.D. Ill. June 3, 2009). Further, it is

not enough to simply allege membership in a protected class and an adverse employment action to

survive a motion to dismiss. See Riley v. Vilsack, 665 F. Supp. 2d 994 (W.D. Wisc. 2009); Hanks

v. Shinseki, No. 3:08-CV-1594-G, 2009 WL 2002917, *1 (N.D. Tex. July 9, 2009); Carpenters

Health and Welfare Fund of Philadelphia v. Kia Enterprises, Inc., No. 09-116, 2009 WL 2152276,

*1 (E.D. Pa. July 15, 2009). Indeed, “[w]hile a complaint attacked by a Rule 12(b)(6) motion to

dismiss does not need to have detailed factual allegations, a plaintiff's obligation to provide the

grounds of [his] entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” See Twombly, 550 U.S. at 555. A

complaint falls short if the facts pled do not “show that the pleader is entitled to relief.” Iqbal, 556




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U.S. at 679. Here, Plaintiff’s Complaint fails to state a claim upon which relief can be granted and,

therefore, must be dismissed in its entirety.

                                                 ARGUMENT

    A.       Plaintiff Fails to Adequately Allege Constructive Discharge against Defendant
             Viscosity, Thus Plaintiff’s Allegations against Defendant Viscosity Alleging
             Plaintiff was Constructively Discharged in Counts II and III should be Dismissed.

         Plaintiff’s allegations of unlawful conduct on the part of Defendant Viscosity do not rise

to the level of intolerable or severe conduct as required by Federal law for a claim of constructive

discharge. To plead a claim of constructive discharge, a plaintiff needs to show that her the

employer "made the working conditions so intolerable as to force a reasonable employee to leave."

Miranda v. Wis. Power & Light Co., 91 F.3d 1011, 1017 (7th Cir. 1996)3. In fact, working

conditions alleged for constructive discharge must be even more intolerable than the "high standard

for hostile work environment." Tutman v. WBBM-TV, Inc./CBS, Inc., 209 F.3d 1044, 1050 (7th

Cir. 2000) (quoting Drake v. Minn. Mining & Mfg. Co., 134 F.3d 878, 886 (7th Cir. 1998)).

         In Gilhooly v. UBS Sec., LLC, 772 F. Supp. 2d 914, 918 (ND IL 2011), the plaintiff brought

an employment discrimination suit on the basis of her sex under Title VII alleging that the

defendant’s constant criticism and harassment of her work left her with little choice but to resign.

The Court held that the bare factual allegation of “constant criticism and harassment” did not give

rise to a “plausible inference that workplace conditions were so intolerable that a reasonable person

would have been compelled to resign.” Id. at 918-919. The court continued its analysis by stating

“constructive discharge must be based upon ‘grossly offensive conduct and commentary.’” Id. at

919, citing for example Brooms v. Regal Tube Co., 881 F.2d 412, 423 (7th Cir. 1989), rev'd on


3
 In Miranda v. Wis. Power & Light Co., 91 F.3d 1011, 1017 (7th Cir. 1996) the plaintiff’s claim alleging constructive
discharge was dismissed on summary judgment. However, the Court noted that the question of whether a constructive
discharge occurred was also appropriate “for inquiry by virtue of a motion under FED. R. CIV. P. 12(b)(612(b)(6).”
91 F.3d at 1017 n.1.

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other grounds, (supervisor showed employee several extremely offensive pornographic

photographs, grabbed her arm when she attempted to seize a copy, and threatened to kill her);

Taylor v. Western and Southern Life Ins., 966 F.2d 1188, 1191 (7th Cir. 1992) (supervisor

constantly used racist comments near employees, brandished a pistol, and put the pistol up to one

employee's head).

       Ultimately, the Gilhooly court held that plaintiff’s "criticism and harassment" allegation

lacked the required factual specificity and severity of conduct that was at issue in the Seventh

Circuit cases of Brooms and Taylor and additionally made no allegations of conduct showing that

she would have been discharged by the defendant. Thus, the Gilhooly court held that the plaintiff

failed to adequately plead a claim for constructive discharge and dismissed the plaintiff’s

complaint. Id.

       As demonstrated in Gilhooly, among other cases, unpleasant or even embarrassing

employer actions are insufficient to affect a constructive discharge. See Simpson v. Borg-Warner

Auto., Inc., 196 F.3d 873,877 (7th Cir. 1999) (plaintiffs lack of support from supervisor, failure by

company to assign new employees to her shift, constraint on ability to supervise a male

subordinate, and colleague's failure to support her efforts to discipline subordinates was

insufficient to bring a claim of constructive discharge). Moreover, failure to promote does not

constitute constructive discharge, nor does unequal pay or the failure to receive an expected pay

raise. See Lindale v. Tokheim Corp., 145 F.3d 953, 955 (7th Cir. 1998); see also Brown v. N. Ill.

Univ., No. 15 C 50154, 2015 U.S. Dist. LEXIS 168483, at *7 (N.D. Ill. Dec. 17, 2015). Alleged

conduct which constitutes constructive discharge must include some allegation that the failure was

so egregious forcing the employee to quit. Id.




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        Here, Plaintiff’s allegations of working conditions that could be construed against

Viscosity are limited to being denied a promotion, working long hours, and hiring a man for the

position Plaintiff was seeking promotion to. Plaintiff does not allege any egregious comments

made by any supervisor or other conduct by Viscosity which would amount to the necessary level

of conduct to sustain an action for constructive discharge. Under Gilhooly, Simpson and Brown,

and from a reasonable employee standpoint, none of these allegations are so egregious as to force

Plaintiff to quit.

        Plaintiff fails to allege any condition or conduct displayed towards her during her

employment at Viscosity that would be considered "unbearable" to the point that Plaintiff was

constructively discharged. Plaintiff simply ended her employment with Viscosity because she did

not receive the job title or salary increase she expected and wanted and because the long hours the

job apparently required, though Plaintiff never alleges she was threatened with termination or other

retaliatory action. Additionally, nowhere in Plaintiff’s complaint does she allege her working

conditions at Viscosity were so intolerable as to force her, or any reasonable employee, to leave.

Plaintiff alleges the male Senior Financial Analyst was hired in spring of 2017; however, Plaintiff

does not associate any conduct by the male Senior Financial Analyst to her constructive discharge.

Further, Plaintiff waited over a year to leave the company after the male Senior Financial Analyst

was hired.

        Hence, Plaintiff has failed to allege instances of intolerable, egregious and unbearable

conduct from Viscosity that forced her to resign and would have forced a reasonable employee in

her position to resign, amounting to constructive discharge. Simply put, being paid less than a

counterpart does amount to an action for constructive discharge under Federal law. Therefore,




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Plaintiff’s allegations of constructive discharge in Counts II and III against Viscosity should be

dismissed with prejudice and/or stricken from the pleading.

   B.      Plaintiff’s Allegations In Count II And III Against Defendant Viscosity Fail To
           Establish A Prima Facie Case Of Gender Discrimination And Thus Should Be
           Dismissed.

        To establish a prima facie case of gender discrimination, a female plaintiff must show that

she was qualified for the position, that her employer discharged her, and that the employer sought

or hired a male to replace her. See McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 and n.

13, 93 S.Ct. 1817, 1824 (1973). First, Plaintiff’s gender discrimination claim fails as she was not

terminated. Plaintiff claims constructive discharge in an attempt to circumvent the requirement

that she was discharged. However, as discussed above, her allegation of constructive discharge

fails on its face as Plaintiff never alleged the conduct of Defendant Viscosity was intolerable or

unbearable to her, forcing her to resign, and that the alleged conduct would have been unbearable

to a reasonable employee. Thus, Plaintiff’s Count II and III based on constructive discharge should

be dismissed for failure to state a claim.

   C.      Plaintiff’s Count III, Alleging Retaliation Under Title VII, Fails To Allege A
           Prima Facie Claim.

   Title VII’s anti-retaliation provision provides that it is unlawful for an employer to discriminate

against its employee because the employee filed a complaint or participated in an investigation of

an unlawful employment practice. See id. § 2000e-3(a). To succeed on a Title VII retaliation

claim, a plaintiff “must produce enough evidence for a reasonable jury to conclude that (1) she

engaged in a statutorily protected activity; (2) the [employer] took a materially adverse action

against her; and (3) there existed a but-for causal connection between the two.” Burton, 851 F.3d

at 695; Lord v. High Voltage Software, Inc., 839 F.3d 556, 563 (7th Cir. 2016). Plaintiff establishes

no causal link between her requesting a promotion and her “constructive discharge”. The dates

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surrounding Plaintiff’s retaliation count are noticeably missing. Though if we look at the

allegations earlier in the Complaint, Plaintiff alleges she was “constructively discharged” on

September 7, 2018 (ECF No. 29, ¶32) and Plaintiff’s closest allegation of discrimination was in

Spring of 2017 when Defendant hired Mr. Duda for the position that Plaintiff was seeking (ECF

No. 29, ¶15). Plaintiff’s allegations regarding retaliation, when taken with the Complaint as a

whole, provide no causal link between the last date of alleged discrimination, Spring 2017 and

Summer of 2018, and Plaintiff’s eventual leaving of Defendant’s employment on September 7,

2018. Therefore, Plaintiff’s Count III should be dismissed for failure to state a claim for retaliation.

    D.      Plaintiff’s Count II And Count III Should Be Dismissed Because Plaintiff’s
            Allegations Of Discrimination Occurred Outside The 300 Day Limitations Filing
            Period Of Her Charge.

         Plaintiff filed her Charge with the EEOC on December 17, 2018. (ECF No. 1, Ex. A).

Under Title VII, a charge "shall be filed within one hundred and eighty days after the alleged

unlawful employment practice occurred." 42 USCS § 2000e-5(e)(1). Illinois is considered a

"deferral state," extending the limitations period, because it has an administrative agency, the

Illinois Department of Human Rights ("IDHR"), to which the EEOC defers. Speer v. Rand

McNally & Co., 123 F.3d 658, 662 n.l (7th Cir. 1997). Accordingly, the time limit to file a charge

under the statute in Illinois is 300 days rather than 180 days. See 42 USCS § 2000e-5(e)(1); see

also EEOC v. Harvey L. Walner & Assocs., 91 F.3d 963, 970 (7th Cir. 1996).

         Thus, only claims based on conduct occurring within 300 days of the filed charge will be

considered timely. See Speer, 123 F.3d at 662; Adm'r v. City of Chi., 174 F. App'x 342, 344-45

(7th Cir. 2006). Here, the vast majority of Plaintiff’s claims of gender discrimination arise before

February 20, 2018 and are thus untimely. All allegations of discriminatory conduct contained in

Paragraphs 4 through 8 of the Charge and referenced in Plaintiff’s gender discrimination counts



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either occurred prior to February 20, 2018, or fail to state a date certain on which the alleged

conduct occurred, thus falling outside of the 300-day limitations period. (ECF No. 29, Ex. A).

       Plaintiffs may extend the statute of limitations by claiming the benefit of a continuing

violation theory. However, even if a plaintiff pursues the continuing violation theory, the Supreme

Court in AMTRAK v. Morgan held that the continuing violation theory does not apply to discrete

acts such as termination, failure to promote, denial of transfer, or refusal to hire because they are

easy to identify. 536 U.S. 101, 114 (2002); see also Dugan v. Ball State Univ., 815 F.2d 1132,

1134 (7th Cir. 1987) (considering plaintiff's Title VII claims relating to the denial of her promotion,

the denial of a salary increase, and comparably less pay to a similarly situated male as separate

and distinct violations). In Moskowitz v. Trustees of Purdue University, the Seventh Circuit

expounded on the limitations of the continuing violation theory, stating that if a plaintiff “knows

or with the exercise of reasonable diligence would have known after each act that it was

discriminatory and had harmed him, he may not sit back and accumulate all the discriminatory

acts and sue on all within the statutory period applicable to the last one.” 5 F.3d 279, 281-82 (7th

Cir. 1993).

       A suit may be based on conduct that occurred outside the statute of limitations where “it

would have been unreasonable to expect the plaintiff to sue before the statute ran on that conduct,

as in a case in which the conduct could constitute, or be recognized, as actionable harassment only

in the light of events that occurred later, within the period of the statute of limitations.” Galloway

v. General Motors Service Parts Operations, 78 F.3d 1164, 1167 (7th Cir. 1996), overruled on

other grounds by National R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 117–118, 122 S.Ct.

2061, 153 L.Ed.2d 106 (2002). Plaintiff’s allegations here are not specific enough to support an

inference Viscosity engaged in a pattern of discrimination because it is unclear from the allegations



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how many times Plaintiff was subsequently denied promotions in favor of male candidates as

Plaintiff only alleges that Mr. Duda was hired into the position she was seeking. Nor does the

Plaintiff offer any argument as to why she was unable to recognize this denial of promotion as

discriminatory until her constructive discharge one-and-a-half years later. See Morgan, 536 U.S.

at 114 (“[d]iscrete acts such as termination, failure to promote, denial of transfer, or refusal to hire

are easy to identify.”)

        Here, Plaintiff did exactly what Moskowitz and Morgan prohibited: she sat back and

accumulated alleged discriminatory acts known to her and sued on all within the statutory period

applicable to the last act-her alleged constructive discharge on September 7, 2018. Plaintiff alleges

various conduct that could constitute separate and distinct violations, including the denial of a

promotion she alleges occurred in the first quarter of 2016 and in late 2016, and the hiring of a

male for the Senior Financial Analyst position in spring of 2017, all which fall outside of the 300

day limitations period. (ECF No. 29, ¶11, 14, 16). If Plaintiff felt that this conduct was unfair to

her or discriminatory she had ample opportunity to bring it to a supervisor’s attention, to Human

Resources’ attention, or to file a charge with the EEOC at those points and within the 300 day

limitations period. In Plaintiff’s First Amended Complaint, Plaintiff for the first time alleges that

she reported discrimination to Human Resources in summer of 2018. (ECF No. 29, ¶56). As such,

her failure to bring the alleged violations within the time-period allotted under Title VII and Illinois

law precludes her from asserting the untimely allegations now. Plaintiff knew the amounts of her

salary compared to a similarly situated as alleged in her Complaint, Plaintiff should have brought

these claims to the EEOC’s notice within the allotted time period.

        Like Morgan, the allegation in Plaintiff’s Complaint are easily identifiable, "discrete acts"

and yet Plaintiff did nothing. Discrete retaliatory or discriminatory acts occur on the day that they



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happened. See Morgan, 536 U.S. at 110; see also Del. State Call. v. Ricks, 449 U.S. 250, 258

(1980) (proper focus is upon the time of the discriminatory acts, not upon the time at which the

consequences of the acts became most painful.) Accordingly, Plaintiff cannot rely upon acts that

occurred before February 2018, to sustain her untimely claims of gender discrimination. See id.

In short, Plaintiff’s allegations and claims must exclude the alleged conduct that occurred before

February 20, 2018, because Plaintiff failed to raise the conduct within the applicable 300-day

limitations period necessary under Federal and Illinois law.

        Plaintiff attempts to avoid the 300 days limitations period by leaving out the precise dates

and general time periods of conduct in the allegations of her complaint. Plaintiff must allege these

dates so defendant can properly address their timeliness.

   E.      Plaintiff’s Count I, under the Equal Pay Act Should be Dismissed for Failure to
           state a Claim.

        The Equal Pay Act prohibits discrimination in the payment of wages on the basis of gender.

See 29 U.S.C. § 206(d). To state a prima facie case under the Equal Pay Act, a plaintiff must

demonstrate that: “(1) the employer paid different wages to employees of opposite sexes, (2) for

equal work requiring equal skill, effort and responsibility, and (3) the employees worked under

similar working conditions.” Young v. Meystel, Inc., 1996 WL 385339, at *2 (N.D.Ill. July 13,

1996) (citing Corning Glass Works v. Brennan, 417 U.S. 188, 195, 94 S.Ct. 2223, 2228 (1974)).

The Equal Pay Act (“EPA”) prohibits discrimination in the payment of wages on the basis of

gender. See 29 U.S.C. § 206(d). The EPA excepts pay disparities due to “(i) a seniority system;

(ii) a merit system; (iii) a system which measures earnings by quantity or quality of production, or

(iv) a differential based on any other factor other than sex” from the statutory prohibition. 29

U.S.C. § 206(d)(1).




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        Here, Plaintiff conveniently ignores two facts present in her allegations. First, Plaintiff

conveniently glides over the fact that Mr. Duda, her supposed male counterpart, was hired at a

different as her. Second, Plaintiff fails to allege that Mr. Duda and her had the same experience

and the same skills. Mr. Duda and Plaintiff may have performed some of the same tasks; however,

whether or not they had the same experience in financial analytics, including years of experience

or the same level of education, plays significantly into whether Mr. Duda and the Plaintiff were

paid equally. Though Plaintiff has a different gender than Mr. Duda, she must alleged that her

experience and skills were the same to justify that the alleged pay disparity was in violation of the

Equal Pay Act. Therefore, Count I of Plaintiff’s First Amended Complaint must be dismissed.

   F.      In the Alternative to Dismissal of Count I of Plaintiff’s First Amended
           Complaint, Plaintiff’s Allegation And Claims Arising Prior To The Two-Year
           Statue Of Limitations Under The Equal Pay Act Should Be Stricken.

        The applicable statute of limitations for Equal Pay Act claims is found in the Fair Labor

Standards Act, 29 U.S.C. § 255(a) (“FLSA”), which establishes a two-year limitations period for

violations of the Equal Pay Act. A claim may accrue under the Equal Pay Act each time an

allegedly insufficient paycheck is issued. Lange v. United States, 79 Fed.Cl. 628, 631 (2007). As

a consequence, a claim arising from a paycheck issued more than two years before a suit is brought

will be time-barred under 29 U.S.C. § 255(a). Id. at 629 (concluding that “each deficient paycheck

gives rise to a separate violation of the [Act], and each violation must have occurred within the

limitations period in order to be actionable”).

        Plaintiff filed her Complaint with this Court on December 17, 2019. Thus, all allegations

in the Plaintiff’s Complaint that arise before December 17, 2017 should be stricken. This includes

paragraphs 10, 13, and 15, which state general dates outside of the statute of limitations, and

paragraphs 11, 12, 14, 17 which do not state specific dates, but make reference to actions which



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occurred before the statute of limitations. Therefore the allegations in paragraphs 10, 11, 12, 13

14, 15, and 17 should be stricken as occurring outside the statute of limitation for an Equal Pay

Act claim.

   G.        In the Alternative to Dismissal of Counts II and II of Plaintiff’s First Amended
             Complaint, Plaintiff’s Allegations And Claims in Support of Her Title VII
             Claim, which were not included in her Illinois Department of Human Rights
             Charge or EEOC Charge Should Be Stricken.

        Lastly, Plaintiff’s allegations that she reported the alleged gender discrimination to Human

Resources in summer of 2018 was not alleged nor brought as part of her Illinois Department of

Human Rights Charge or EEOC Charge. (ECF No. 29, Ex. A). This is a material allegation that

Plaintiff should have asserted before the Department for consideration of her Charge. Plaintiff’s

failure to bring this allegation before the Department now prevents her from alleging it before this

Court. Therefore, paragraphs 22, 23, 56, and 60 should be stricken from the First Amended

Complaint for Plaintiff’s failure to bring these alleged facts before the Illinois Department of

Human Rights.

                                             CONCLUSION

        For the foregoing reasons, Viscosity Oil Company respectfully requests that this Court

dismiss Plaintiff’s Complaint in its entirety, with prejudice, for failure to state a claim for which

relief can be granted under Rule 12(b)(6) of the Federal Rules of Civil Procedure; and, that the

Court strike Plaintiff’s allegations in Paragraphs 11, 12, 13, 14, 15, 16, 17, 22, 23, 56, and 60 of

her Complaint. Defendant requests any other relief this Court deems just and proper.




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                                      Respectfully submitted,

                                      JOHNSON & BELL, LTD.


                                      ___/s/ Amber N. Lukowicz______________
                                      Amber N. Lukowicz; Bar Number: 6324266
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                                      Viscosity Oil Company


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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 30, 2020 I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to all attorneys of record.




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